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                                                 UNITED STATES DISTRICT COURT
                                                NORTHERN DISTRICT OF GEORGIA


       THE STATE OF GEORGIA,                                  )   1:23-CV-03621-SCJ
                  Plaintiff                                   )
       v.                                                     )   Appearing on behalf of:
       MARK RANDALL MEADOWS,                                  )    FMR. JUDGES, PROSECUTORS, &
                                                                       EXECUTIVE OFFICIALS
                                  Defendant                   )              Amici Curiae


                                    APPLICATION FOR ADMISSION PRO HAC VICE

         Applicant, Fred Wertheimer, hereby requests permission to appear pro hac vice in the
  subject case filed in the Atlanta Division of the United States District Court for the Northern

  District of Georgia. Applicant states under penalty of perjury that he is not a member of the
  State Bar of Georgia but is a member in good standing of the United States court and/or the
  highest court of a state as listed below in this application. Applicant further states under penalty

  of perjury that he has identified all courts to which he has been admitted to practice and the dates
  of admission and that he is in good standing and eligible to practice in all courts to which he has
  been admitted. Applicant also states under penalty of perjury that he has provided all

  information required by LR 83.1(B)(2) on the subsequent pages of this application and that it is
  true and correct. Applicant designates John Thomas Morgan III as local counsel. His/her
  business address is provided below in the Consent of Designated Local Counsel section.

         This 24th day of August, 2023.

                                                                        ___ /s/ Fred Wertheimer__
                                                                           Signature of Fred Wertheimer




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   ALL COURTS TO WHICH APPLICANT HAS BEEN ADMITTED TO PRACTICE AND
                                                            DATES OF ADMISSION

  Appeared pro hac vice in Superior Court, Fulton County, Georgia (Brief filed May 19, 2023);
  Admitted to D.C. Bar (June 13, 1971); Appeared application for admission forthcoming in
  United States District Court for the District of Columbia (Brief filed August 14, 2023); United
  States District Court for the District of Columbia (Application accepted on August 21, 2023,
  Swearing in Pending); Member of Supreme Court bar (July 21, 1975)



                              NDGA CASES IN WHICH APPLICANT HAS APPEARED

  Attorney has not previously appeared in any cases in the Northern District of Georgia.




                                                          APPLICANT INFORMATION

       Name of Applicant:                        Fred Wertheimer
       Residence Address:                        3502 Macomb Street NW
                                                 Washington, DC 20016
       Business Address:                         Democracy 21 Education Fund
                                                 2000 Massachusetts Ave. NW
                                                 Washington, DC 20036
       Business Phone:                           (202) 355-9600
       Email Address:                            fwertheimer@democracy21.org




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                                      CONSENT OF DESIGNATED LOCAL COUNSEL

         I, John Thomas Morgan III, designated local counsel for the subject case, maintain an
  office in the Northern District of Georgia. I have verified the bar admission status of Applicant.

  I agree to readily communicate with opposing counsel and the Court regarding the conduct of
  this case and to accept papers when served. I recognize my responsibility and full authority to act
  on behalf of the client in all proceedings related to this case, including hearings, pretrial

  conferences, and trials, should the Applicant fail to respond to any Court order for appearance
  or otherwise. I further recognize that I must authorize and sign all pleadings and other papers
  filed in the case by the Applicant and that I also am subject to the requirements of Fed. R. Civ.

  P. 11.

         This 24th day of August, 2023.

       522675                                             ___ /s/ John Thomas Morgan III__
       GA Bar Number                                      Signature of John Thomas Morgan III


                                                          John Thomas Morgan III
       (404) 687-6418                                     J. Tom Morgan, Attorney, LLC
       Business Telephone                                 160 Clairemont Ave, Suite 645
                                                          Decatur, GA 30030

       Email Address                                      JTom@jtommorganlaw.com




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                                                 UNITED STATES DISTRICT COURT
                                                NORTHERN DISTRICT OF GEORGIA


       THE STATE OF GEORGIA,                                      )
                   Plaintiff                                      )   1:23-CV-03621-SCJ
       v.                                                         )
       MARK RANDALL MEADOWS,                                      )
                  Defendant                                       )


                                                          ORDER OF ADMISSION

         It appearing to the Court that the requirements stated in LR 83.1(B) for admission pro hac
  vice have been satisfied, the application of Fred Wertheimer to appear pro hac vice in the
  United States District Court for the Northern District of Georgia in the subject case is

  GRANTED.

         This _______ day of ________________, 20___.



                                                                  _____________________________________
                                                                     UNITED STATES DISTRICT JUDGE




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